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                 UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF GEORGIA
                     GAINESVILLE DIVISION

KENITHA L. FERGUSON
HARRINGTON and ELITE
BEAUTY AND BARBER                      Civil Action File No.
SUPPLY STORE LLC,                      1:24-CV-32-TCB

            Plaintiffs,                DEFENDANTS’ ANSWER AND
                                       AFFIRMATIVE DEFENSES
      v.
                                       JURY TRIAL DEMANDED
DEVIN ROBINSON and
BEAUTY SUPPLY
INSTITUTE LLC,

            Defendants.


     Pursuant to Rules 8 and 12 of the Federal Rules of Civil Procedure,

Defendants Devin Robinson and Beauty Supply Institute LLC (“BSI”)

submit their Answer and Affirmative Defenses to Plaintiff’s Complaint

(ECF 003) filed in the above-captioned action on January 26, 2024,

(“Complaint”).

                               ANSWER

     The following paragraphs correspond to the paragraphs in the

Complaint, such that the text in each respective paragraph below

constitutes Defendants’ answer to each such respective specific paragraph

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in the Complaint. Defendants deny all allegations in the Complaint except

as specifically admitted below. Defendants reserve their right to amend or

to seek leave to amend this Answer and Affirmative Defenses as

investigation and discovery develop.

I.     Parties to This Complaint

       Defendants admit the names of the parties. Defendants deny that

Devin Robinson is a proper party to this action.

II.    Basis for Jurisdiction

       Defendants deny that this Court has diversity jurisdiction because

the actual amount in controversy is not more than $75,000. The Plaintiffs

did not pay BSI more than $75,000 and the Plaintiffs do not allege that they

did. Otherwise, venue is proper in the Northern District of Georgia

Atlanta Division.

III.   Statement of Claim

       Defendants admit that a written contract was signed on or about

November 13, 2020. Defendants admit that Plaintiffs paid for a Full

Experience package that included training and consulting services and

generally included services like those referred to in the Complaint.




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Defendants’ Alleged Failure to Comply:

1. “Store opening time.”

        Defendants deny that they breached the contract regarding

  the timing of the store opening.

2. “BSI has never registered as a business opportunity seller with

  the Securities Division as required under the Business

  Opportunity Act.”

        Defendants deny that they were required to register as a

  business opportunity seller with the Securities Division under the

  Business Opportunity Act. Defendants deny that a lack of such

  registration constitutes a breach of the contract as the contract did

  not require any such registration.

3. “Delayed shipments which plaintiff has no control”

        Defendants deny that they caused shipments to be delayed.

  Defendants deny that they breached the contract with regard to

  any shipment issues.

4. “never opened a beauty supply store “

        Defendants lack knowledge or information sufficient to

  form a belief about the truth of this allegation, which is therefore


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        denied. Defendants deny that they breached the contract with

        regard to this statement. Defendants deny that they caused any

        delay in the store opening.

     5. “BSI did not provide to Plaintiff prior to her signing her Store

        Opening Services Agreement a business opportunity disclosure

        statement prepared under the Business Opportunity”

                 Defendants deny that they breached the contract regarding

        this statement. Defendants deny that such a disclosure statement

        was required.

     6. “Refusing Refund for all fees she paid related to her BSI Store

        Opening Services Agreement”

                 Defendants admit that Plaintiffs did not receive a refund

        but deny that they were obligated to provide one for any reason.

        Defendants deny that they owed a refund to Plaintiffs under the

        BSI Store Opening Services Agreement.

     “The plaintiff has complied with the plaintiffs obligations under

the contract.”

     Defendants deny that the Plaintiffs have complied with their

obligations under the contract.


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IV.   Relief

      Defendants admit that Plaintiffs seek the relief requested but deny

that they are entitled to any.

      “1. fraudulent misrepresentations 2. breach of contract 3. A

fraudulent or reckless representation of facts as true when they are not, if

intended to deceive 4. Financial Transaction Card Fraud 5. violation of

business opportunity act”

            Defendants deny that the Plaintiff is entitled to recover for any

      of these labels or topics. Defendants deny that the Complaint alleges

      facts sufficient to support any of the stated claims for relief.

      “The reason I am entitled to these damages are I have been in an

agreement since 11/2020 and it been three years later and ive lost alot of

money and opporturnity behind Beauty supply insituite. They gave false

marketing and advertsing just to get your money. Gave alse pretences

with that I request the court to grant me Damages of $160.000 and

addtional $16,000 for punitive”

            Defendants admit that it has been over three years since

      November 2020 but deny liability to the Plaintiffs. Defendants deny

      that they gave false marketing and advertising. Defendants deny


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     that they gave pretenses. Defendants deny that the Complaint

     contains factual allegations to support such claims. Defendants deny

     that the Plaintiff is entitled to any damages of any type.

V.   Certification and Closing

     Defendants deny all the assertions in the first paragraph of

section V.

              AFFIRMATIVE AND OTHER DEFENSES

     1. The Complaint fails to state a claim upon which relief can be

granted.

     2. The Complaint, and each claim set forth therein, is barred

because at all times relevant, the Defendants acted reasonably, in good

faith, and without malice, based upon all relevant facts and circumstances

known by the Defendants at the time it acted.

     3. Defendant’s conduct toward Plaintiff was, at all times, justified,

and undertaken in a good faith belief that Defendant was in full

compliance with the contract and the law.

     4. All conduct of Defendant’s employees was protected by the

managerial and business judgment privileges.




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      5. The Complaint, and each claim set forth therein, is barred, in

whole or in part, by the applicable statute(s) of limitation.

      6. Plaintiff's claims are barred by a contractual limitations

provision contained in the written agreement between the Defendants and

Plaintiffs.

      7. Plaintiff's claims are barred because the Defendants did not

breach the agreement

      8. Plaintiff's claims are barred to the extent that Plaintiffs failed to

comply with all conditions precedent to the commencement of this action.

      9. Plaintiff’s causes of action are barred because Plaintiff

unreasonably failed to take advantage of any preventative or corrective

opportunities provided by Defendants or to avoid harm otherwise.

      10. The Complaint, and each purported cause of action contained

therein, is barred against Defendant because any unlawful or other

wrongful acts of any agents or employees of Defendant, if any, were

outside the scope of their authority and such acts, if any, were not

authorized, ratified, or condoned by Defendant nor did Defendant know

or have reason to be aware of such conduct.




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      11. Plaintiff is not entitled to recover any punitive damages because:

(1) Plaintiff failed to plead facts sufficient to support the recovery of

punitive damages; and (2) the Defendants committed no act justifying an

award of punitive damages.

      12. Any award of punitive damages would violate the Defendants’

right to substantive and procedural due process under the Fifth and

Fourteenth Amendments of the United States Constitution, and under

equivalent or related provisions of the Constitution of the State of Georgia.

      13. Any award of punitive damages would violate the Defendants’

right to protection from “excessive fines” as provided in the Eighth

Amendment to the United States Constitution and equivalent or related

provisions of the Constitution of the State of Georgia.

      14. Plaintiff failed to mitigate, and failed to exercise reasonable care

to mitigate, his claimed damages.

      15. Plaintiff’s losses, if any, are not compensable to the extent they

are speculative and uncertain, or both.

      16. Plaintiff's claims are barred because of contributory negligence.

      17. If any loss, injury, damage or detriment occurred as alleged in

the Complaint, the loss, injury, damage or detriment was caused and


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contributed to by the acts and omissions of Plaintiff, and because he did

not exercise ordinary care on his own behalf, his own acts and omissions

proximately caused and contributed to the loss, injury, damage or

detriment alleged by Plaintiff, and his recovery from Defendant, if any,

should be eliminated, or, at least, reduced in proportion to the percentage

of Plaintiff’s negligence or fault.

      18. Any amounts owed by Defendant to Plaintiff, are subject to

offset, including by any amounts that Plaintiff owes to Defendant.

      19. Plaintiff’s claims may be barred, in whole or in part, by the after-

acquired evidence doctrine.

      20. Plaintiff's claims are barred by the equitable doctrines of laches,

waiver, estoppel, and unclean hands.

      21. Plaintiff’s claims are barred because they consented to, and

acquiesced in, the acts and omissions alleged in the Complaint.

      22. Plaintiff’s claims are barred on the ground that they breached

the duties that they owed to Defendant under the agreement and their

obligation to follow the terms of the contract and the procedures of BSI.

      23. Plaintiff cannot recover punitive damages against Defendant,

because the standards of conduct to justify punitive damages are not met,


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including because Defendant at all times acted without malice,

oppression, or fraud, and in a good faith belief that its acts and omissions

were justified, lawful, and undertaken for proper business purposes.

                          PRAYER FOR RELIEF

      WHEREFORE, having fully answered, Defendants pray that the

Complaint be dismissed with prejudice, that judgment be entered in favor

of Defendants, that Defendants recover against Plaintiffs all costs,

expenses, and reasonable attorney’s fees incurred by Defendants, and

such other and further relief as the Court deems just and proper.

                          [continued next page]




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                               JURY DEMAND

      Pursuant to Rule 38(b)(1) of the Federal Rules of Civil Procedure,

Defendants Devin Robinson and Beauty Supply Institute LLC demand a

trial by jury on all issues so triable.


      Dated: June 14, 2024                Respectfully submitted,

                                          FALLON LAW PC

                                          /s/ Brad Fallon    .
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                RULE 7.1 DISCLOSURE STATEMENT

     Pursuant to Federal Rule of Civil Procedure 7.1(a)(2), the

Defendants state that the citizenship of the Defendants is as follows:

     Devin Robinson: Georgia

           Mr. Robinson is an individual who resides in Georgia.

     Beauty Supply Institute LLC: Georgia.

           The company is a domestic limited liability company with its

           principal place of business in Georgia.




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                       CERTIFICATE OF SERVICE

      I hereby certify that on June 14, 2024, a copy of the Defendants’

Answer and Affirmative Defenses and Rule 7.1 Disclosure Statement were filed

electronically. Notice of this filing will be sent by e-mail to all parties by

operation of the Court’s Electronic Filing System. Parties may access this

filing through the Court’s CM/ECF System.


                                          /s/ Brad Fallon    .
                                          Brad Fallon




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